Case 1:25-cv-00885-TWP-MG           Document 1        Filed 05/07/25   Page 1 of 13 PageID #: 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 ERNEST GAUSE,                                )
                                              )
               Plaintiff,                     )
                                              )
        v.                                    )       CAUSE NO. 1:25-CV-885
                                              )
 NEWFIELDS ,                                  )
                                              )
               Defendant.                     )


                    COMPLAINT AND DEMAND FOR JURY TRIAL

                               I.      Statement of the Case.

        Plaintiﬀ Ernest Gause (herein “Gause”), by counsel, brings his Complaint against

 Defendant, Newﬁelds for its violations of Title VII of the Civil Rights Act 1964, as

 amended, 42 U.S.C. §2000e et seq. (“Title VII”), Section 1981 of the Civil Rights Act of

 1866, 42 U.S.C. §1981 (“Section 1981”), The Fair Labor Standards Act of 1938, as

 amended, 29 U.S.C. § 201, et seq., (“FLSA”) Indiana’s Whistleblowing statute, Ind. Code

 §22-5-3-3, and Indiana common law.

                                        II.       Parties.

        1.     Gause is a resident of Ohio who performed work for Newﬁelds in

 Indianapolis, Indiana.

        2.     Newﬁelds is a non-proﬁt organization that conducts business in

 Indianapolis, Indiana.

                                                  1
Case 1:25-cv-00885-TWP-MG            Document 1    Filed 05/07/25   Page 2 of 13 PageID #: 2




                              III.     Jurisdiction and Venue.

         3.    Jurisdiction is conferred on this Court by 28 U.S.C. §1331, 42 U.S.C. §1981,

 42 U.S.C. § 2000, 28 U.S.C. § 1343(3) and (4), and 28 U.S.C. § 1367.

         4.    Gause was an “employee” within the meaning of 42 U.S.C. § 2000e(f) and

 29 U.S.C. § 203(e).

         5.    Newﬁelds is an “employer” within the meaning of 42 U.S.C. § 2000e(b)

 and 29 U.S.C. § 203(d).

         6.    Gause satisﬁed his obligation to exhaust his administrative remedies,

 having timely ﬁled a Charge of Discrimination with the Equal Employment

 Opportunity Commission. Gause received his “Dismissal and Notice of Rights” on said

 Charge and now timely ﬁles this lawsuit within ninety (90) days after receipt of said

 Notice.

         7.    All of the events, transactions and occurrences pertinent to this lawsuit

 occurred within the geographical environs of the Southern District of Indiana,

 Indianapolis Division, therefore venue is proper in this Court pursuant to 28 U.S.C. §

 1391.

                                IV.      Factual Allegations.

         8.    On or about February 15, 2022, Gause began working for Newﬁelds.

         9.    Gause is African American.




                                               2
Case 1:25-cv-00885-TWP-MG           Document 1     Filed 05/07/25     Page 3 of 13 PageID #: 3




        10.    Newﬁelds has struggled with well-documented systematic equity issues

 resulting in a history of racial discrimination and institutional resistance to racial

 equality, equity, and inclusion.

        11.    Newﬁelds hired Gause to be its Chief People Oﬃcer (CPO). In or about

 March 2024, Newﬁelds promoted Gause and added Chief Diversity Oﬃcer (CDO) and

 Chief Technology Oﬃcer (CTO) to his title along with all the responsibilities that go

 along with the roles.

        12.    Throughout his employment with Newﬁelds, Gause met or exceeded all

 of its legitimate employment expectations.

        13.    At the time Gause was hired, Newﬁelds’ Chief Financial Oﬃcer and Head

 of IT, Jerry Wise was its interim CEO.

        14.    Gause learned that Wise was hesitant to hire him because of his salary

 requirement and that he shared with Gause’s colleagues his salary information prior to

 his hire. Upon information and belief, Wise did not treat similarly situated non-Black

 C-suite employees in the same way.

        15.    Upon beginning his employment at Newﬁelds, Gause was regularly

 excluded from meetings and communications and his ideas and contributions were

 often ignored or dismissed.




                                               3
Case 1:25-cv-00885-TWP-MG         Document 1      Filed 05/07/25    Page 4 of 13 PageID #: 4




        16.    Gause raised his concerns about disparate and discriminatory treatment to

 Board Chairperson Darianne Christian. Gause’s complaints constitute statutorily

 protected conduct.

        17.    Thereafter, Dr. Cole e Pierce Burne e took over the role of permanent

 CEO at Newﬁelds. Burne e, like Wise, subjected to Gause to disparate treatment often

 ignoring his contributions and interfering with his ability to do his job.

        18.    During the time Gause reported to Burne e, he complained that her

 executive assistant Carol Oe ing was not receiving reimbursement for expenses

 Burne e knew Oe ing had personally incurred on behalf of Newﬁelds. He also

 complained that Oe ing was not receiving pay for work that she performed during her

 employment at Newﬁelds and following her separation. Burne e dismissed Gause’s

 complaints and rationalized not paying Oe ing because “she [Oe ing] has a servant’s

 heart.” Gause escalated his complaints about Newﬁelds unlawfully failing to pay

 Oe ing as required by the FLSA to the Board. Gause’s complaints constitute statutorily

 protected conduct.

        19.    On or about November 2022, Newﬁelds was advised by the Federal

 Bureau of Investigation (FBI) that it had system vulnerabilities that could put the

 organization at risk. Burne e and Wise seemingly ignored the FBI’s warnings while

 Gause, in April 2022, a empted to get a handle on the problem by contacting

 Newﬁelds’ IT managed service provider and requesting that it perform an assessment


                                              4
Case 1:25-cv-00885-TWP-MG         Document 1     Filed 05/07/25   Page 5 of 13 PageID #: 5




 and take action to reduce risk to Newﬁelds. Thereafter, the IT managed service

 provider was instructed by Burne e to have no further communication with Gause.

 Burne e then put the IT security assessment on hold.

       20.    On or about June 3, 2023, Newﬁelds experienced a catastrophic failure of

 its IT system resulting in a data breach. Thereafter, Burne e and Wise did not share

 with Gause, other executive leaders, the Board, or Newﬁelds’ insurance provider the

 extent it was forewarned of the IT security risk and took several measures to ﬁx the

 problem as to not tip oﬀ the Board by exceeding its threshold for ﬁnancial approval.

       21.    Gause exposed these concealment eﬀorts to the Board, including

 providing copies of the contracts. Gause’s communications to the Board constitute

 statutorily protected conduct.

       22.    One of Gause’s responsibilities as CDO was to develop and deliver DEIA

 training. Burne e refused to take the mandatory DEIA training. She was the only

 employee who refused to participate.

       23.    Gause approached Burne e about what he perceived to be race-based pay

 inequities between himself and other C-suite executives with similar responsibilities.

 Gause also complained on behalf of other employees about perceived pay disparities.

 Gause’s complaints constitute statutorily protected conduct.




                                             5
Case 1:25-cv-00885-TWP-MG         Document 1      Filed 05/07/25   Page 6 of 13 PageID #: 6




        24.   Following Gause’s complaint, Burne e took away his CDO

 responsibilities. Gause complained to the Board that Burne e’s actions were retaliatory.

 His complaint to the Board also constitutes statutorily protected conduct.

        25.   Following Burne e’s departure, Gause reported to interim CEO Mike

 Kubacki and then permanent CEO LeMonte Booker.

        26.   Gause began reporting to Booker in October 2024. Thereafter, Gause

 a ended a meeting with Booker during which he pointed out apparent disparities

 between the way Newﬁelds was handling employment ma ers concerning non-Black

 employes compared to the way it treated Black employees. Gause’s complaint

 constitutes statutorily protected conduct.

        27.   In November 2024, Gause reported a discriminatory pay practice to

 Booker which resulted in inequity and would likely have exposed Newﬁelds to a claim

 for discrimination. Booker ignored Gause’s complaint. Gause’s complaint constitutes

 statutorily protected conduct.

        28.   On January 7, 2025, Newﬁelds terminated Gause.

        29.   Following his termination, in or about February 2025, Newﬁelds employee

 Laura Booker told an AFLAC insurance representative that Gause had misrepresented

 his authority to set up an account, that he had lied to AFLAC, and that he had engaged

 in fraud.




                                              6
Case 1:25-cv-00885-TWP-MG         Document 1      Filed 05/07/25   Page 7 of 13 PageID #: 7




                                  V.     Causes of Action

        COUNT I – RACE DISCRIMINATION IN VIOLATION OF TITLE VII

        30.    Gause hereby incorporates paragraphs 1-29 of his Complaint.

        31.    Gause is African American.

        32.    Gause was subjected to disparate treatment because of his race, including

 but not limited to disparate pay and application of Newﬁelds’ employment policies, as

 well as harassment.

        33.    Gause was terminated because of his race.

        34.    Any and all reasons proﬀered by Newﬁelds for Gause’s termination are

 pretext for unlawful discrimination.

        35.    Newﬁelds’ unlawful actions were intentional, willful, and done in reckless

 disregard of Gause’s rights as protected by Title VII.

        36.    Gause has been damaged as a result of Newﬁelds’ discriminatory actions,

 including but not limited to: lost wages and beneﬁts, emotional distress and

 embarrassment, and a orneys’ fees and costs.

     COUNT II – RACE DISCRIMINATION IN VIOLATION OF SECTION 1981

        37.    Gause hereby incorporates paragraphs 1-36 of his Complaint.

        38.    Gause is African American.




                                              7
Case 1:25-cv-00885-TWP-MG           Document 1   Filed 05/07/25   Page 8 of 13 PageID #: 8




        39.    Gause was subjected to disparate treatment because of his race, including

 but not limited to disparate pay and application of Newﬁelds’ employment policies, as

 well as harassment.

        40.    Gause was terminated because of his race.

        41.    Any and all reasons proﬀered by Newﬁelds for Gause’s termination are

 pretext for unlawful discrimination.

        42.    Newﬁelds’ unlawful actions were intentional, willful, and done in reckless

 disregard of Gause’s rights as protected by Section 1981.

        43.    Gause has been damaged as a result of Newﬁelds’ discriminatory actions,

 including but not limited to: lost wages and beneﬁts, emotional distress and

 embarrassment, and a orneys’ fees and costs.

              COUNT III – RETALIATION IN VIOLATION OF TITLE VII

        44.    Gause hereby incorporates paragraphs 1-43 of his Complaint.

        45.    Gause engaged in statutorily protected conduct when he complained

 about race discrimination on behalf of himself and others.

        46.    Gause was subjected to disparate treatment because of his complaints,

 including but not limited to disparate pay and application of Newﬁelds’ employment

 policies, as well as harassment.

        47.    Gause was terminated in retaliation for engaging in statutorily protected

 conduct.


                                             8
Case 1:25-cv-00885-TWP-MG            Document 1   Filed 05/07/25   Page 9 of 13 PageID #: 9




        48.     Any and all reasons proﬀered by Newﬁelds for Gause’s termination are

 pretext for unlawful retaliation.

        49.     Newﬁelds’ unlawful actions were intentional, willful, and done in reckless

 disregard of Gause’s rights as protected by Title VII.

        50.     Gause has been damaged as a result of Newﬁelds’ retaliatory actions,

 including but not limited to: lost wages and beneﬁts, emotional distress and

 embarrassment, and a orneys’ fees and costs.

              COUNT IV – RETALIATION IN VIOLATION OF SECTION 1981

        51.     Gause hereby incorporates paragraphs 1-50 of his Complaint.

        52.     Gause engaged in statutorily protected conduct when he complained

 about race discrimination on behalf of himself and others.

        53.     Gause was subjected to disparate treatment because of his complaints,

 including but not limited to disparate pay and application of Newﬁelds’ employment

 policies, as well as harassment.

        54.     Gause was terminated in retaliation for engaging in statutorily protected

 conduct.

        55.     Any and all reasons proﬀered by Newﬁelds for Gause’s termination are

 pretext for unlawful retaliation.

        56.     Newﬁelds’ unlawful actions were intentional, willful, and done in reckless

 disregard of Gause’s rights as protected by Section 1981.


                                              9
Case 1:25-cv-00885-TWP-MG         Document 1        Filed 05/07/25   Page 10 of 13 PageID #: 10




         57.    Gause has been damaged as a result of Newﬁelds’ retaliatory actions,

  including but not limited to: lost wages and beneﬁts, emotional distress and

  embarrassment, and a orneys’ fees and costs.

                             COUNT V – FLSA RETALIATION

         58.    Gause hereby incorporates paragraphs 1-57 of his Complaint.

         59.    Gause engaged in statutorily protected conduct when he complained

  about FLSA violations to Newﬁelds and its Board.

         60.    Gause was terminated in retaliation for engaging in statutorily protected

  conduct.

         61.    Any and all reasons proﬀered by Newﬁelds for Gause’s termination are

  pretext for unlawful retaliation.

         62.    Newﬁelds’ unlawful actions were intentional, willful, and done in reckless

  disregard of Gause’s rights as protected by FLSA.

         63.    Gause has been damaged as a result of Newﬁelds’ retaliatory actions.

       COUNT VI – VIOLATIONS OF INDIANA’S WHISTLEBLOWER STATUTE

         64.    Gause hereby incorporates paragraphs 1-63 of his Complaint.

         65.    Newﬁelds is a private employer that is under public contract as those

  terms are describes in Ind Code 22-5-3-3.

         66.    During his time at Newﬁelds, reported violations of federal law, including

  but not limited to, violations of Section 1981, Title VII, and FLSA.


                                               10
Case 1:25-cv-00885-TWP-MG        Document 1         Filed 05/07/25   Page 11 of 13 PageID #: 11




         67.    Gause was terminated in retaliation for his reports.

         68.    Any and all reasons proﬀered by Newﬁelds for Gause’s termination are

  pretext for unlawful retaliation.

         69.    Newﬁelds’ unlawful actions were intentional, willful, and done in reckless

  disregard of Gause’s rights as protected by Indiana Code 22-5-3-3.

         70.    Gause has been damaged as a result of Newﬁelds’ retaliatory actions.

         COUNTS VII AND VII – DEFAMATION AND DEFAMATION PER SE

         71.    Gause hereby incorporates paragraphs 1-70 of his Complaint.

         72.    Newﬁelds provided false information to a third party, AFLAC, about

  Gause. At the time Newﬁelds made the statements, they were known to be false.

         73.    Newﬁelds statements were neither privileged nor authorized.

         74.    Gause has been damaged as a result of Newﬁelds’ defamatory remarks.

         75.    The defamatory statements were inherently damaging to Gause’s

  reputation, and therefore, constitute defamation per se.

                                      VI. Requested Relief

         WHEREFORE, Gause, Ernest Gause respectfully requests that this Court ﬁnd for

  him and order that:

         1.     Newﬁelds reinstate Gause;

         2.     Newﬁelds pay lost wages and beneﬁts to Gause;

         3.     Newﬁelds pay compensatory damages to Gause;


                                               11
Case 1:25-cv-00885-TWP-MG        Document 1        Filed 05/07/25   Page 12 of 13 PageID #: 12




        4.      Newﬁelds pay punitive damages to Gause;

        5.      Newﬁelds pay liquidated damages to Gause;

        6.      Newﬁelds pay pre- and post-judgment interest to Gause;

        7.      Newﬁelds pay Gause’s a orneys’ fees and costs incurred in litigating this

  action; and

        8.      Newﬁelds pay to Gause any and all other legal and/or equitable damages

  that this Court determines just and proper to grant.




                                                    Respectfully submi ed,

                                                    /s/ Meghan U. Lehner
                                                    Meghan U. Lehner (25899-49)

                                                    CLEVELAND LEHNER CASSIDY
                                                    1901 Broad Ripple Avenue
                                                    Indianapolis, IN 46240
                                                    Tel: 317-388-5424
                                                    Fax: 317-947-1863
                                                    Email: meghan@clca orneys.com

                                                    Counsel for Plaintiﬀ Ernest Gause




                                              12
Case 1:25-cv-00885-TWP-MG         Document 1        Filed 05/07/25   Page 13 of 13 PageID #: 13




                                DEMAND FOR JURY TRIAL

         The Plaintiﬀ, Ernest Gause, by counsel, respectfully requests a jury trial as to all
  issues deemed so triable.
                                                  Respectfully submi ed,

                                                     /s/ Meghan U. Lehner
                                                     Meghan U. Lehner (25899-49)

                                                     CLEVELAND LEHNER CASSIDY
                                                     1901 Broad Ripple Avenue
                                                     Indianapolis, IN 46220
                                                     Tel: 317-388-5424
                                                     Fax: 317-947-1863
                                                     Email: meghan@clca orneys.com

                                                     Counsel for Plaintiﬀ Ernest Gause




                                               13
